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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES -- GENERAL

Case No.         CV 21-02673-JFW-(PDx)                                          Date: October 13, 2021

Title:           United African-Asian Abilities Club et al v. Parkway Plaza - 94 et al


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                                 None Present
                 Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                       ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                         None

PROCEEDINGS (IN CHAMBERS):                   ORDER TO SHOW CAUSE RE: DISMISSAL FOR LACK
                                             OF PROSECUTION

      Plaintiff is ordered to show cause, in writing, no later than October 18, 2021 why this action
should not be dismissed for lack of prosecution.

      The Court will consider the filing of the following on or before the above date as an
appropriate response to this Order to Show Cause:

  X       Proof of service of summons and complaint
          Answer by the defendant or an application for entry of default pursuant to Federal Rule
          of Civil Procedure 55(a)
          Motion for entry of default judgment set for hearing in accordance with the Local Rules
          and the Court's Standing Order

       No oral argument on this matter will be heard unless otherwise ordered by the Court. See
Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon the filing of the response
to the Order to Show Cause. Failure to respond to the Order to Show Cause will result in the
dismissal of this action.

          IT IS SO ORDERED.




                                                                                    Initials of Deputy Clerk sr
(Rev. 10/1/04)
